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                           UN ITED STATES DISTRICT COURT FOR THE
                                SOU TH ERN D ISTRICT OF FLOR ID A
                                        M IA M IDIVISION

                         CaseNumber:18-23930-èIV-MARTINEZ-LOU1S
   ENRIQUE SUAREZ,
          Plaintiff,

   VS.

   EDUARDO PADRON,PresidentofM iam i
   D ade College,

          D efendant.
                                                   /

    ORDER DISM ISSING CASE AND DENYING ALL PENDING M OTIONS AS M OOT

          THIS CAUSE came before the Coul'tupon Plaintiff'stcl
                                                             N'ew Response to OrderFiled on

  3/25/2019,' (ECF No.35j,requesting ttan emergency hearing ASAP''to address who gave
  tGcontidential inform ation to M D C BEFORE M D C RECEIV ED TH IS SU BPOEN A FR OM

  PLAINTIFF''and,in the eventthathisrequestforan emergency hearing isnotgranted,thatthe

   Coul'ttransferthecasetoW estPalm Beach.'Defendantfiled aresponsein opposition EECF No,
  361,noting,in part,thatDefendanthasfailed tofilehis'
                                                     amended complaint,âsrequiredby this
  Court'spriororder,whichwasenteredon February28,2019(ECF No.31j,andthatdismissalof
  thiscase is appropriate.This Courtagrees with Defendantand finds dismissalofthis matter is

  appropriate atthistim e forthe reasonsthatfollow .

          On February 28, 2019, this Coul't adopted M agistrate Judge Louis' Repol'
                                                                                  t and
                                                                                                        (

  Recommendation,tindingthat:(i)Plaintiff'sclaimsfordiscriminatoryactsocculningpriortoApril
   14,2017weretime-barred;(ii)Plaintifffailedto specify when Defendant'sdecisionsnottohim


   lPlaintiffappearsto berespondingto aM arch25,2019O rderin which M agistrateJudgeLouisgranted Defendant's
  MotiontoQuashSubpoena(ECFNo.331.
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   were made,or m ade known to him and,therefore,Plaintiff failed to adequately plead his

   exhaustionofadministrativeremedies;and(iii)PlaintiffsComplaintfailedto stateaclaim upon
   whichreliefcanbegranted(ECFNo.314.2W ithrespecttothesedeficiencies,theCoul'tprovided
   Plaintiffwith leavéto filean amended complaintwithin fourteen (14)daysfrom thedateofthe
   orderorM arch 14,2019.f#.at4.M oreover,intheorder,theCourtwarnedPlaintiffthatGtgfjailure
   to tslean amended complaintthatcuresthe deficienciesdiscussedbythe foregoing deadlineshall

   resultin the dismissalofthiscasewith prejudice.''Id.To date,Plaintiffhas failed to file an
   amended complaintin Jompliancewith thisCourt'sorder.3Accordingly,forthe reasonsstated
   herein,itis

          O RD ER ED and AD JU D G ED that

              Plaintiff'saction isDISM ISSED with prejudice.
          2. A 11pending m otions are D EN IED as M O O T.

              This case isC LO SED .

        DONE AND ORDERED inChambersatM inmi,Florida,thisW dayofJune,2019.

                                                                        =


                                                            JOSE .M A R
                                                            1-m 1  STA TES D l R ICT JU D GE
  Copiesprovided to:
  M agistrate Judge Louis
  AllCounselofRecord
  Enrique Suarez,pro se

  2Asto Plaintiff'sfailureto stateaclaim,thisCourtagreed with M agistrateJudge Louis'findingsin herReportand
  Recommendation,notingthatPlaintiff'sComplaintfailedto:(i)stateacognizableclaim againstDefendantEduardo
  Padronasheisnottheemployerinthiscasez;(ii)sufficfentlyallegethattfheappliedforandwasrejectedforaposition
  thathewasqualifiedtof111',.(iii)sufficientlyallegethatStthepositionwasGlledby''aEtpersonoutsidetheprotected
  class'';and(iv)statewhichpositionPlaintiffappliedoradescriptionoftheposition(ECFNo.31,at31.
  3Based on areview ofthe record,instead oftim ely Gling an am ended complaint,Plaintifffiled a response to the
                                                                                .

  Court'sorderEECFNo.32j,appearingtosubmitadditionalobjectionstotheReportandRecommendation.Moreover,
  in a M arch 25,2019 O rder,M agistrate Judge Louisfurthernoted thatPlaintiffwas required to 5le hisam ended
  complaintbyM arch 14,2019andhow hehadfailedtodoso,addingthatçtitisunclearwhetherPlaintiffhasabandoned
  theunderlyingaction''EECFNo.33,at2q.
